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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                           CASE NO. 3: 97cr111 LAC

YVEMYRTH ST. HILAIRE

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MARCH 7, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE           on 3/6/08      Doc.# 352

RESPONSES:
                                               on                     Doc.#
                                               on                     Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is   ORDERED    this     20 th   day   of
March, 2008, that:
(a) The relief requested is DENIED.
(b) At sentencing, the defendant was held accountable by the Court for 9.3
kilograms of cocaine base which resulted in a base offense level of 38.                     Pursuant
to Amendment 706 to the Sentencing Guidelines, the Drug Quantity Table at §2D1.1
assigns a base offense level of 38 for 4.5 kilograms or more of cocaine base.
Since the defendant’s base offense level is unchanged, he is not eligible for any
reduction in his sentence of imprisonment pursuant to Amendment 706.



Entered On Docket:                    By:                       s /L.A. Collier
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP                  LACEY A. COLLIER
Copies sent to:                                     Senior United States District Judge




                               Document No.
